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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Jackie Wilson
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:21−cv−03487
                                                                   Honorable Franklin U.
                                                                   Valderrama
Administrator of the Estate of Former Chicago
Police Department Commander Jon Burge, et al.
                                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 11, 2023:


         MINUTE entry before the Honorable Jeffrey T. Gilbert: Status hearing held on
8/11/23. The Court discussed with counsel for the parties and with counsel for putative
defendant Nicholas Trutenko the matters discussed in the Joint Status Report on
Depositions [257] filed on 7/20/23. For the reasons discussed on the record, the parties
shall file by 9/15/23 a joint status report with the following information: (1) proposed or
confirmed dates for depositions the parties then have on the calendar or are actively
discussing scheduling; (2) an update on whether Mr. Trutenko will or will not be
participating in those depositions; (3) an update on the status of written discovery between
Plaintiff and Mr. Trutenko; and (4) anything else the parties believe is useful to the Court
for case management purposes. Mailed notice(ber, )




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